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       AO 245B-CAED(Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case



                                   UNITED STATES DISTRICT COURT
                                                      Eastern District of California
                      UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASE
                                                                             (For Offenses Committed On or After November 1, 1987)
                                 v.
                            TAMMY CAO                                        Case Number: 2:14CR00024-001
                                                                             Defendant's Attorney: Linda Harter, Assistant Federal Defender

       THE DEFENDANT:
            pleaded guilty to count(s) 2 of the Information.
            pleaded nolo contendere to count(s)      which was accepted by the court.
            was found guilty on count(s)     after a plea of not guilty.
       ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense (s):

              The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed pursuant to the
       Sentencing Reform Act of 1984.

            The defendant has been found not guilty on count(s)      and is discharged as to such count(s).
            Count (s) 1, 3-11 are dismissed on the motion of the United States.
            Indictment is to be dismissed by District Court on motion of the United States.
            Appeal rights given.                              Appeal rights waived.

               IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
       change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
       fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of material changes in
       economic circumstances.
                                                                            6/4/2014
                                                                            Date of Imposition of Judgment




                                                                            Signature of Judicial Officer
                                                                            Kendall J. Newman, United States Magistrate Judge
                                                                            Name & Title of Judicial Officer
                                                                            6/12/2014
                                                                            Date




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       AO 245B-CAED(Rev. 09/2011) Sheet 4 - Probation
       DEFENDANT:TAMMY CAO                                                                                                            Page 2 of 4
       CASE NUMBER:2:14CR00024-001

                                                 SPECIAL CONDITIONS OF PROBATION
       1.       The defendant shall pay a special assessment of $25.00;
       2.       The defendnat shall pay $10,786.00 as restitution to the Sacramento Housing and Redevelopment Agency within six months
                from the date of conviction;
       3.       The defendant will be jointly and severally liable for the full amount of the restitution with her daughter Vanessa Pham;
       4.       The defendant shall not commit another federal, state or local crime;
       5.       The defendant shall not unlawfully possess a controlled substance, including medicinal marijuana;
       6.       The defendant shall refrain from any unlawful use of a controlled substance, including medicinal marijuana;
       7.       The defendant shall notify the U.S. Attorney's Office within seventy-two hours of being arrested;
       8.       The defendant shall notify the U.S. Attorney's Office ten days prior to any change in residence.




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       AO 245B-CAED(Rev. 09/2011) Sheet 5 - Criminal Monetary Penalties
       DEFENDANT:TAMMY CAO                                                                                                               Page 3 of 4
       CASE NUMBER:2:14CR00024-001

                                                     CRIMINAL MONETARY PENALTIES

                The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                                    Assessment                        Fine               Restitution
                TOTALS                                                 $25                                               $10,786.00
             The determination of restitution is deferred until           . An Amended Judgment in a Criminal Case (AO 245C) will be entered
             after such determination.

             The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

             If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
             otherwise in the priority order or percentage payment colunm below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
             victims must be paid before the United States is paid.

       Name of Payee                                                Total Loss*       Restitution Ordered Priority or Percentage
       Sacramento Housing and Redevelopment
                                                                       $10,786.00                  $10,786.00
       Agency
       Totals                                                          $10,786.00                  $10,786.00
             Restitution amount ordered pursuant to plea agreement $ 10,786.00

             The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
             the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
             subject to penalities for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

             The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                    The interest requirement is waived for the             fine      restitution

                    The interest requirement for the            fine       restitution is modified as follows:


             If incarcerated, payment of the fine is due during imprisonment at the rate of not less than $25 per quarter and payment shall be
             through the Bureau of Prisons Inmate Financial Responsibility Program.

             If incarcerated, payment of the restitution is due during imprisonment at the rate of not less than $25 per quarter and payment
             shall be through the Bureau of Prisons Inmate Financial Responsibility Program.
       *Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
       on or after September 13, 1994, but before April 23, 1996.




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       AO 245B-CAED(Rev. 09/2011) Sheet 6 - Schedule of Payments
       DEFENDANT:TAMMY CAO                                                                                                                 Page 4 of 4
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                                                            SCHEDULE OF PAYMENTS
               Payment of the total fine and other criminal monetary penalties shall be due as follows:

       A.               Lump sum payment of $             due immediately, balance due
                              Not later than      , or
                              in accordance          C,       D,      E,or       F below; or
       B.               Payment to begin immediately (may be combined with               C,      D,    or    F below); or

       C.               Payment in equal    (e.g. weekly, monthly, quarterly) installments of $       over a period of         (e.g. months or
                        years), to commence     (e.g. 30 or 60 days) after the date of this judgment; or

       D.               Payment in equal    (e.g. weekly, monthly, quarterly) installments of $     over a period of     (e.g. months or
                        years), to commence     (e.g. 30 or 60 days) after release from imprisonment to a term of supervision; or

       E.               Payment during the term of supervised release will commence within     (e.g. 30 or 60 days) after release from
                        imprisonment. The court will set the payment plan based on an assessment of the defendants ability to pay at that
                        time; or

       F.               Special instructions regarding the payment of crimimal monetary penalties:

                            Payments must be made by Check or Money Order, payable to: Clerk, U.S.D.C. and mailed to:
                               CLERK U.S.D.C.
                               501 "I" Street, #4-200
                               Sacramento, CA 95814
                        Your check or money order must indicate your name and citation/case number shown above to ensure your account
                        is credited for payment received.
                        The defendant shall pay the restitution amount ordered within sox months of the date of conviction.
       Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
       due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
       Inmate Financial Responsibility Program, are made to the clerk of the court.

       The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

                Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate:
       Tammy Cao (1) and Vanessa Pham (2) are jointly and sevarally liable to pay the full restitution amount ordered totaling $10,786.00.
                The defendant shall pay the cost of prosecution.

                The defendant shall pay the following court cost(s):

                The defendant shall forfeit the defendant's interest in the following property to the United States:

       Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
       (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.




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